Case 1:18-cv-00825-CMH-MSN Document 33 Filed 09/20/18 Page 1 of 7 PageID# 278



                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA


                           Alexandria Division




 KENNETH HENDERSON,

       Plaintiff,

 V.                                   Civil Action No. l:18-cv-825


 FAIRFAX-FALLS CHURCH
 COMMNITY SERVICE BOARD,
 et al.,

       Defendants.




                            MEMORANDUM OPINION


       THIS MATTER comes before the Court on Defendants Fairfax-


 Falls Church Community Service Board ("FFCCSB"), Fairfax County

 Government ("FCG"), and INOVA Health System's ("INOVA")

 (collectively "Defendants") Motions to Dismiss Plaintiff's

 Complaint pursuant to Federal Rules of Civil Procedure 12(b)(1),

 12(b) (2), and 12(b)(6).

       Plaintiff is a forty-six-year-old, African-American man who

 suffers from osteoporosis in his hips and sleep apnea. Plaintiff

 alleges that he was a substance abuse counselor for FCG before

 that function was given to FFCCSB, and then subsequently for

 FFCCSB. Plaintiff alleges that during his employment, FFCCSB

 underwent budget cuts and INOVA was to hire many of its

 employees as part of the 2014 Merrifield Land Agreement ("MLA").
Case 1:18-cv-00825-CMH-MSN Document 33 Filed 09/20/18 Page 2 of 7 PageID# 279
Case 1:18-cv-00825-CMH-MSN Document 33 Filed 09/20/18 Page 3 of 7 PageID# 280
Case 1:18-cv-00825-CMH-MSN Document 33 Filed 09/20/18 Page 4 of 7 PageID# 281
Case 1:18-cv-00825-CMH-MSN Document 33 Filed 09/20/18 Page 5 of 7 PageID# 282
Case 1:18-cv-00825-CMH-MSN Document 33 Filed 09/20/18 Page 6 of 7 PageID# 283
Case 1:18-cv-00825-CMH-MSN Document 33 Filed 09/20/18 Page 7 of 7 PageID# 284
